     Case 3:21-cv-09812-JSC          Document 77        Filed 12/04/24   Page 1 of 2



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 8                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 9                                SAN FRANCISCO DIVISION
10   In re: Nestle Boost Nutritional Drink Litigation   Case No. 3:21-cv-09812-JSC
11                                                      CLASS ACTION
12                                                      [PROPOSED] ORDER GRANTING
                                                        PLAINTIFFS’ ADMINISTRATIVE
13                                                      MOTION TO EXTEND CLASS
                                                        CERTIFICATION SCHEDULE
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                                                                            Case No. 3:21-cv-09812-JSC
           [PROPOSED] ORDER GRANTING ADMIN. MOT. TO EXTEND CLASS CERTIFICATION SCHEDULE
        Case 3:21-cv-09812-JSC         Document 77          Filed 12/04/24     Page 2 of 2



 1          The Court, having considered Plaintiffs’ Administrative Motion to Extend Class

 2   Certification Schedule, hereby ORDERS that the request to extend the class certification schedule

 3   by 60 days is GRANTED. The class certification schedule is as follows:

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 5    Deadline For                                         Date

 6    Motion for Class Certification                       March 10, 2025

 7    Opposition to Motion for Class Certification         April 21, 2025

 8    Reply in Support of Class Certification              May 12, 2025

 9    Hearing on Motion for Class Certification            April 5. 2025 at 10:00 a.m.

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11          IT IS SO ORDERED.

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13   DATED: December 4, 2024
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            [PROPOSED] ORDER GRANTING ADMIIN. MOT. TO EXTEND CLASS CERTIFICATION SCHEDULE
